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08:52    1               IN THE UNITED STATES DISTRICT COURT

         2                     FOR THE DISTRICT OF HAWAII

         3   ENVY HAWAII LLC dba VOLVO           ) CIVIL NO. 17-00040 HG/KSC
             CARS HONOLULU,                      )
         4                                       )
                          Plaintiff,             )
         5                                       )
                vs.                              )
         6                                       )
             VOLVO CAR USA LLC,                  )
         7                                       )
                          Defendant.             )
         8                                       )
             VOLVO CAR USA LLC,                  )
         9                                       )
                Counterclaim Plaintiff,          )
        10                                       )
                vs.                              )
        11                                       )
             ENVY HAWAII LLC dba VOLVO           )
        12   CARS HONOLULU,                      )
               Counterclaim Defendant,           )
        13                                       )
             and                                 )
        14                                       )
             MIKHAIL FEDOTOV,                    )
        15     Additional Counterclaim           )
                            Defendant.           )
        16                                       )

        17                           DEPOSITION OF
                     ENVY HAWAII LLC f/d/b/a VOLVO CARS HONOLULU
        18         THROUGH ITS 30(b)(6) DESIGNATED REPRESENTATIVE,
                                    MIKHAIL FEDOTOV
        19

        20   Taken on behalf of the Defendant/Counterclaim Plaintiff,

        21   Volvo Car USA LLC, at Starn•O'Toole•Marcus & Fisher,

        22   Pacific Guardian Center, Makai Tower, 733 Bishop Street,

        23   Suite 1900, Honolulu, Hawaii, commencing at 8:59 a.m. on

        24   Tuesday, November 6, 2018, pursuant to Notice.

        25   BEFORE:      SHARON L. ROSS, RPR, CRR, RMR, CSR No. 432



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                         Honolulu, Hawaii       (808) 524-2090
                                   Exhibit 1
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11:47    1   email addresses are associated with those four inboxes?

11:47    2      A.    It's Mike.Fedotov@VolvoHonolulu.com.            It's

11:47    3   Mike@envyag.com, that personal Gmail, mihbor@gmail.com,

11:47    4   and -- and I think it was Mike.Fed@VolvoHonolulu.com.

11:47    5      Q.    Since November 2016, have you deleted any emails

11:48    6   from any of those four accounts that relate in any way

11:48    7   to Envy Hawaii's Volvo operations?

11:48    8      A.    Sure.

11:48    9      Q.    How have you determined which emails to delete?

11:48   10      A.    If it's a spam or emails that I -- I don't need

11:48   11   to....

11:48   12      Q.    Have you deleted any communications with Volvo

11:48   13   employees?

11:48   14      A.    Could be.   I don't recall.       Could be.

11:48   15      Q.    Since November 2016, have you deleted any emails

11:48   16   with Mr. Martinho?

11:48   17      A.    Could be.

11:48   18      Q.    Were you aware that you have a legal obligation

11:49   19   to preserve all documents relating to this lawsuit?

11:49   20      A.    Yes.

11:49   21      Q.    Then why were you deleting documents?

11:49   22      A.    Oh, you -- I didn't understand your question.

11:49   23      Q.    My question is:    Did you delete any emails

11:49   24   relating in any way to your Volvo operations?

11:49   25      A.    When?



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11:55    1      Q.   -- did you search his email personally?

11:55    2      A.   I don't recall, could be.        It's Google --

11:55    3   VolvoHonolulu.com, the main base on Google; and as a

11:55    4   Google administrator, I could have an access to all

11:55    5   company emails, yes.      So --

11:55    6      Q.   Wouldn't it be the case --

11:55    7      A.   -- yeah, when I searched emails, topics, I could

11:55    8   see emails from all the employees.

11:55    9      Q.   Do you still have access -- I'm sorry.             What was

11:55   10   that domain, EnvyHonolulu?

11:55   11      A.   No, it's VolvoHonolulu.

11:55   12      Q.   Excuse me.     VolvoHonolulu.      Do you still have

11:56   13   access to those VolvoHonolulu emails for the other

11:56   14   employees?

11:56   15      A.   I only have a portion of it.

11:56   16      Q.   Why is that?

11:56   17      A.   Because we stopped paying for Google Enterprise,

11:56   18   the Mainland entity.      It got canceled and freeze and --

11:56   19      Q.   When did you stop paying for that?

11:56   20      A.   I think it was in 2018.

11:56   21      Q.   Is it your understanding then that any emails

11:56   22   that were associated with that domain name are deleted

11:56   23   by Google?

11:56   24      A.   I don't know how it works.         Yeah, I'm not sure.

11:56   25      Q.   You just know you don't have access to them



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